         Case 1:19-cv-01871-TSC Document 83 Filed 06/09/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 9REN Holding S.À.R.L.,

               Plaintiff,
                                                       The Hon. Tanya S. Chutkan
        v.                                             Case No. 19-cv-1871

 Kingdom of Spain,

               Defendant.

     NOTICE OF WITHDRAWAL OF CARLOS E. GUZMAN PLASCENCIA AND
                    JOHN D. BRANSON AS COUNSEL

       PLEASE TAKE NOTICE that, pursuant to LCvR 83.6(b), attorney Carlos E. Guzman

Plascencia and John D. Branson of Squire Patton Boggs (US) LLP hereby withdraw as counsel

for Kingdom of Spain in this case. Williams & Connolly LLP has entered its appearance in this

action and will represent Kingdom of Spain going forward.
       Case 1:19-cv-01871-TSC Document 83 Filed 06/09/23 Page 2 of 2




Dated: June 9, 2023               Respectfully Submitted,

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